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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT

------------------------------------------------------x
                                                      :
UNITED STATES OF AMERICA                              :         Docket No. 3:14CR00066(AWT)
                                                      :
v.                                                    :
                                                      :
DONALD GAINES                                         :         December 24, 2014
                                                      :
------------------------------------------------------x


                               MOTION TO WITHDRAW AS COUNSEL

        Undersigned counsel, Sarah A. L. Merriam, respectfully requests leave to withdraw as counsel

for Donald Gaines in the above-captioned case. Attorney Tracy Hayes of the Office of the Federal

Defender has now filed an appearance in this matter. Attorney Hayes will be handling this case from

this point forward.

        Undersigned counsel has sent a copy of this motion to Mr. Gaines, and has provided Mr. Gaines’

file to Attorney Hayes. Mr. Gaines is aware that Attorney Hayes is taking over his case.

        Accordingly, the undersigned requests that the Court terminate her appearance in this matter.




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                                               Respectfully submitted,

                                               The Defendant,
                                               Donald Gaines

                                               Office of the Federal Defender


Dated: December 24, 2014                       /s/ Sarah A. L. Merriam
                                               Sarah A. L. Merriam
                                               Assistant Federal Defender
                                               265 Church Street, Suite 702
                                               New Haven, CT 06510
                                               Bar No. ct25379
                                               Phone: 203-498-4200
                                               Fax: 203-498-4207
                                               Email: sarah_merriam@fd.org



                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 24, 2014, a copy of the foregoing Motion was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing will
be sent to all parties by operation of the Court’s electronic filing system or by mail to anyone unable
to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing
through the Court’s CM/ECF System.


                                                    /s/ Sarah A. L. Merriam
                                                       Sarah A. L. Merriam




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